UNITED STATES I)ISTRICT COURT
MlDDLE DISTRICT OF TENNESSEE

 

NASHVILLE DIVISION
DON ANDERSON, individually and on )
Behalf of all others similarly situated, )
) No. 3:12-CV-1047
Plaintiffs, )
) Judge Campbell
vs. ) Magistrat_e Judge Brown
)
AMERICAN BANK & TRUST ()F THE )
CUMBERLANDS, )
)
Defendant. )
NOTICE OF SETTLEMENT

 

Plaintit`f, Don Anderson, individually and on behalf of all others Similarly Situated, and
Defendant, American Bank & Trust of the Cumberlands, hereby notify the court that the parties
have resolved the dispute that is the Subject of this lawsuit They intend to fully execute all
settlement documents by February 21, 2013 and to Submit an Agl'eed Order of Disrnissal by

Februai'y 28, 2013.

Respectfully Submitted,

BONE MCALLESTER NORTON PLLC

/S! Marshall T. Cook

Marshall T. Cook, No. 20028

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REEVES, l“IERBERT & ANDERSON, P.A.

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CERTIFICATE ()F SERVICE

The undersigned hereby certifies that on the 8‘]' day of February, 2013 the foregoing
Notice of Settlement was filed via CM/ECF with this Court’S clerk and electronically Served on
counsel for the Plaintiff, Pamela L. Reeves, Tyson Place, Suite 130, 2607 Kingston Pike,

Knoxville, TN 37919.

/S/ Marshall T. Cook

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